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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION

Dale Ylitalo and R4 Construction, LLC,
individually and on behalf of all others
similarly situated,

                Plaintiffs,                  Case No. 2:24-cv-00055

      v.

Automatic Data Processing, Inc., and
American Century Investments Services,
Inc.,

                Defendants.


                  NOTICE REGARDING LOCAL RULE 2.01

      Automatic Data Processing, Inc., by and through undersigned counsel, hereby

files this Notice regarding non-compliance with Local Rule 2.01(c).

      1.     Plaintiffs commenced the instant case on January 16, 2024. DE 1. On

January 19, 2024, the Court ordered William Federman, Esq. and Jessica Wilkes, Esq.

to promptly seek special admission consistent with Local Rule 2.01(c). DE 6.

      2.     On February 5, 2024, William Federman, Esq. submitted his pro hac vice

motion with supporting certifications. DE 10. The materials included a putative list

of cases in which Mr. Federman appeared in state or federal court in Florida within

the last 36 months. See DE 10-1.

      3.     The following matters and initial appearances in Florida federal courts
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were omitted from counsel’s certified filing: 1

    • Holcombe et al v Independent Living Systems – S.D. Fla. Case No.: 23-cv-21131;
      pro hac admission granted on 4/3/2023. DE 7.

    • Luttrell v. The Medical Imaging Partnership – M.D. Fla. Case No.: 23-cv-00772;
      pro hac admission granted on 7/28/2023. DE 19.

    • Kaminowitz v. AssistRx, Inc. et al – M.D. Fla. Case No.: 23-cv-1446; pro hac
      admission granted on 8/7/2023. DE10.

    • Zeroed-In Technologies Litigation – M.D. Fla. Case No.: 23-cv-1164; pro hac
      admission granted on 12/22/2023. DE 10.

      4.     The initial appearances in each of the matters listed above occurred

during the 365-days immediately prior to the pro hac submission in this case. DE 10.

      5.     Prior to filing this Notice, undersigned counsel conferred with Mr.

Federman by phone (voice mail) and email on April 3, 2024. Counsel again conferred

via email on April 8, 2024 and specifically identified the above-listed omissions.

Undersigned counsel requested that Mr. Federman file a certification compliant with

the Local Rules that “lists each case in state or federal court in Florida in which the

lawyer has initially appeared in the last thirty-six months[.]” See M.D. Fla. L.R.

2.01(c)(4). Ms. Wilkes, an attorney in Mr. Federman’s office, advised that the issue

would be reviewed and a supplemental filing made.           There has been no such

submission as of the filing of this Notice.

      6.     Based on the above-listed matters, Mr. Federman has filed three or more


1
 Undersigned counsel is not aware whether Mr. Federman’s submission also omits
Florida state court matters and asked Mr. Federman to provide the Court with a
supplement or other certification as described in paragraph 5 below.

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motions for pro hac admission in this District over a 365-day period. Contra DE 10-2.

Dated: April 12, 2024

      Respectfully submitted,

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                                        Processing, Inc.

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                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing has been

filed with the Clerk of court using CM/ECF. Copies will be contemporaneously

served upon all attorneys of record via the transmission of Notices of Electronic Filing

generated by CM/ECF.

                                        By: /s/ Alaina B. Karsten




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